Case 6:18-cv-02081-PGB-TBS Document 21 Filed 04/10/19 Page 1 of 2 PageID 81



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


MISTY CRISP,

                    Plaintiff,

v.                                                   Case No: 6:18-cv-2081-Orl-40TBS

EXECUTIVE GARDEN TITUSVILLE
HOTEL, LLC and ELCORNO MARTIN,

                    Defendants.
                                        /

                                        ORDER

      This cause is before the Court on the parties’ Joint Motion for Approval of FLSA

Settlement Agreement (Doc. 18) filed on April 5, 2019. The United States Magistrate

Judge has submitted a report recommending that the motion be granted.

      After an independent de novo review of the record in this matter, and noting that a

Joint Notice of Non-Objection has been filed (Doc. 20), the Court agrees entirely with the

findings of fact and conclusions of law in the Report and Recommendation.

      Therefore, it is ORDERED as follows:

      1.     The Report and Recommendation filed April 8, 2019 (Doc. 19), is

ADOPTED and CONFIRMED and made a part of this Order.

      2.     The Joint Motion for Approval of FLSA Settlement Agreement (Doc. 18) is

GRANTED.

      3.     The parties’ Settlement Agreement (Doc. 18-1) is APPROVED.

      4.     The Clerk is DIRECTED to close the file.
Case 6:18-cv-02081-PGB-TBS Document 21 Filed 04/10/19 Page 2 of 2 PageID 82



      DONE AND ORDERED in Orlando, Florida on April 10, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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